     Case: 1:22-cv-00830 Document #: 10 Filed: 03/28/22 Page 1 of 1 PageID #:80

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                Eastern Division

Quintel Stallworth
                                       Plaintiff,
v.                                                       Case No.: 1:22−cv−00830
                                                         Honorable Martha M. Pacold
Smith & Wesson Brands, Inc.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 28, 2022:


         MINUTE entry before the Honorable Martha M. Pacold: The parties' joint motion
to stay [9] is granted. All pleading, discovery, and other deadlines are stayed for a period
of 60 days for the express and sole purpose of allowing Plaintiff's counsel an opportunity
to substitute a new class representative. If, after 60 days, Plaintiff's counsel has failed to
file an amended complaint dropping Mr. Stallworth and adding a new putative class
representative, the case will be voluntarily dismissed in its entirety and without prejudice
pursuant to Rule 41. If, within 60 days, Plaintiff's counsel files an amended pleading
identifying a new putative class representative, defendant will be allowed 45 days
thereafter to answer or otherwise respond to the amended pleading. (rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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